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     WAWD – Praecipe (Revised 6/2021)



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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
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 8
        Kurt A. Benshoof, pro se,
 9      A.R.W. by and through his father,
        Kurt A. Benshoof
10

11                                 Plaintiff(s),              CASE NO. 2:24-cv-00808-TLF
                v.
12      Marshall Ferguson, et al.,                            PRAECIPE
13

14                                 Defendant(s).
15

16          To the Clerk of the above-entitled court:
            You will please:
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        Issue summons to Defendants Marshall Ferguson, Blair Russ, Jessica Skelton,
18
        Michael Tracy, Sarah Turner, and Jamal Whitehead.
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23      6/14/2024                       s/ Kurt A. Benshoof
           Dated                                  Sign or use an “s/” and your name
24

25                                      Kurt A. Benshoof,
                                        1716 N 128th ST, Seattle, WA 98133
                                        (206) 460-4202
                                                   Name, Address, and Phone number of Counsel or Pro Se



     PRAECIPE - 1
